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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 1:10-cr-222-03
v.
                                                    HONORABLE PAUL L. MALONEY
JOE LEWIS PARKER, JR.,

                  Defendant.
_________________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Joe Lewis Parker, Jr. has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       However, the defendant is not eligible for a sentence modification. Defendant’s sentence

of 54 months is below the amended guideline range of 57 to 71 months. Absent a 5K motion by

the government, U.S.S.G. § 1.B.1.10 does not permit the Court to go below the amended range.

Therefore, Amendment 782 does not retroactively lower the defendant's sentencing guideline
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range. Accordingly,

       IT IS HEREBY ORDERED that Defendant Joe Lewis Parker, Jr.’s motion modification

of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 455) is DENIED.




Date: June 17, 2015                        /s/ Paul L. Maloney
                                          Paul L. Maloney
                                          Chief United States District Judge
